       Case 2:15-bk-27769-ER                     Doc 421 Filed 10/03/17 Entered 10/03/17 08:52:47                                      Desc
                                                  Main Document    Page 1 of 20

  Attorney or Party Name, Address, Telephone & FAX                          FOR COURT USE ONLY
  Nos., State Bar No. & Email Address
  DYKEMA GOSSETT LLP
  Gregory K. Jones (SBN 181072)
  gjones@dykema.com
  333 South Grand Avenue
  Suite 2100
  Los Angeles, California 90071
  Telephone: (213) 457-1800
  Facsimile: (213) 457-1850




  o   Movant(s) appearing without an attorney
  o   Attorney for Movant(s)
                                        UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

  In re:                                                                    CASE NO.: 2:15-bk-27769
                                                                            CHAPTER: 11
  Crystal Waterfalls LLC,

  and related adversary proceeding
                                                                                    DECLARATION THAT NO PARTY
                                                                                  REQUESTED A HEARING ON MOTION
                                                                                                   LBR 9013-1(o)(3)


                                                                                                   [No Hearing Required]
                                                             Debtor(s).


  1. I am the    O Movant(s) or O attorney for Movant(s) or O employed by attorney for Movant(s).
  2. On (date): 09/14/2017            Movant(s) filed a motion or application (Motion) entitled: Motion to Withdraw as Counsel
      to Tsai Luan Ho

  3. A copy of the Motion and notice of motion is attached to this declaration.

  4. On (date): 09/14/2017 Movant(s), served a copy of          the notice of motion or    the Motion and notice of motion
     on required parties using the method(s) identified on the Proof of Service of the notice of motion.

  5. Pursuant to LBR 9013-1(o), the notice of motion provides that the deadline to file and serve a written response and
     request for a hearing is 14 days after the date of service of the notice of motion, plus 3 additional days if served by
     mail, or pursuant to F.R.Civ.P. 5(b)(2)(D) or (F).

  6. More than 18         days have passed after Movant(s) served the notice of motion.

  7. I checked the docket for this bankruptcy case and/or adversary proceeding, and no response and request for hearing
     was timely filed.

  8. No response and request for hearing was timely served on Movant(s) via Notice of Electronic Filing, or at the street
     address, email address, or facsimile number specified in the notice of motion.

           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                           Page 1                    F 9013-1.2.NO.REQUEST.HEARING.DEC
       Case 2:15-bk-27769-ER                    Doc 421 Filed 10/03/17 Entered 10/03/17 08:52:47                                      Desc
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  9. Based on the foregoing, and pursuant to LBR 9013-1(o), a hearing is not required.

Movant(s) requests that the court grant the motion and enter an order without a hearing.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.




    Date: 10/03/2017                                       /s/ Gregory K. Jones
                                                           _______________________________________________
                                                           Signature


                                                           Gregory K. Jones
                                                           _______________________________________________
                                                           Printed name




          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                          Page 2                    F 9013-1.2.NO.REQUEST.HEARING.DEC
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    0! Debtor(s) appearing without an attorney!
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                                               1 DYKEMA GOSSETT LLP
                                                 Michael P. Wippler (SBN 155646)
                                               2 mwippler@dykema.com
                                                 Gregory K. Jones (SBN: 181072)
                                               3 gjones@dykema.com
                                                 333 South Grand Avenue
                                               4 Suite 2100
                                                 Los Angeles, CA 90071
                                               5 Telephone: (213) 457-1800
                                                 Facsimile: (213) 457-1850
                                               6
                                                 Attorneys for Defendant
                                               7 SHELBY HO aka TSAI LUAN HO
                                                 aka SHELBY TSAI HO, an individual
                                               8
                                                                          UNITED STATES BANKRUPTCY COURT
                                               9
                                                                           CENTRAL DISTRICT OF CALIFORNIA
                                              10
                                                                                   LOS ANGELES DIVISION
                                              11
DYKEMA GOSSETT LLP




                                                 In re:                                          Case No. 2:15-bk-27769-ER
                     333 SOUTH GRAND AVENUE

                      LOS ANGELES, CA 90071




                                              12
                                                 CRYSTAL WATERFALLS LLC,                         Chapter 11
                            SUITE 2100




                                              13
                                                                Debtor and Debtor in Possession.
                                              14 ___________________________________

                                              15 CRYSTAL WATERFALLS LLC, a California                Adv. No.: 2:15-ap-01671-ER
                                                 limited liability company,
                                              16
                                                                  Plaintiff.
                                              17                                                     MOTION TO WITHDRAW AS COUNSEL
                                                         vs.                                         TO TSAI LUAN HO; MEMORANDUM OF
                                              18                                                     POINTS AND AUTHORITIES;
                                                 HCL 2011, LLC, a California limited liability       DECLARATION OF MICHAEL P.
                                              19 company; and Does 1 through 10, inclusive,          WIPPLER IN SUPPORT THEREOF

                                              20             Defendants.
                                                 _______________________________________
                                              21 HCL 2011, LLC, a California limited liability
                                                 company,
                                              22                                                     [No Hearing Unless Requested in Writing –
                                                             Plaintiff.                              Local Bankruptcy Rule 9013-1(o)]
                                              23       vs.

                                              24 CRYSTAL WATERFALLS LLC, a California
                                                 limited liability company; LUCY GAO aka
                                              25 XIONG XIN GAO, an individual; BENJAMIN
                                                 KIRK aka TZU PING KO aka BENNY JAMES
                                              26 KIRK, an individual; SHELBY HO aka TSAI-
                                                 LUAN HO aka SHELBY TSAI HO, an
                                              27 individual; and ROES 1 through 20, inclusive.
                                              28                Counter-Defendants.
                                                                                                 1
                                                         MOTION TO WITHDRAW AS COUNSEL TO TSAI LUAN HO; MEMORANDUM OF POINTS AND AUTHORITIES;
                                                                         DECLARATION OF MICHAEL P. WIPPLER IN SUPPORT THEREOF
                                              Case 2:15-bk-27769-ER Doc 421 Filed 10/03/17 Entered 10/03/17 08:52:47 Desc
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                                               1
                                                 _______________________________________
                                               2 CRYSTAL WATERFALLS LLC, a California
                                                 limited liability company,
                                               3
                                                                  Counter-Complainant.
                                               4
                                                 BENJAMIN KIRK aka BENNY KIRK, an
                                               5 individual; TSAI-LUAN HO aka SHELBY HO,
                                                 an individual; and ROES 21 through 40,
                                               6 inclusive,
                                                                  Counter-Defendants.
                                               7 _______________________________________

                                               8

                                               9 TO THE HONORABLE ERNEST M. ROBLES, UNITED STATES BANKRUPTCY
                                              10 JUDGE, THE PARTIES, AND COUNSEL OF RECORD:

                                              11          Dykema Gossett, LLP (“Dykema”) hereby files this motion (the “Motion”) to withdraw as
DYKEMA GOSSETT LLP
                     333 SOUTH GRAND AVENUE

                      LOS ANGELES, CA 90071




                                              12 counsel to defendant Tsai Luan Ho (the “Client”) in the above captioned bankruptcy case (Case No.

                                              13 2:15-bk-27769-ER) (the “Bankruptcy Case”) and above-captioned adversary proceeding (Adv. Pro.
                            SUITE 2100




                                              14 No. 2:15-ap-01671-ER) (the “Adversary Proceeding”), both of which are pending before this Court.

                                              15          The need for relief is a breakdown in the attorney-client relationship for reasons covered by

                                              16 the attorney-client privilege and the Client’s failure to pay attorneys’ fees owed to Dykema.

                                              17          This Motion is based upon the following Memorandum of Points and Authorities and the

                                              18 Declaration of Michael P. Wippler attached hereto. This Motion is brought on the grounds that
                                              19 there has been an irreconcilable breakdown of the attorney-client relationship between the Client

                                              20 and Dykema and the Client has breached her retainer agreement with Dykema.

                                              21          WHEREFORE, Dykema respectfully requests that this Court enter an order (i) granting the

                                              22 Motion and (ii) providing such other and further relief that the Court deems necessary and

                                              23 appropriate.

                                              24 Dated: September 13, 2017                        DYKEMA GOSSETT LLP

                                              25

                                              26                                                  By: /s/ Gregory K. Jones_____________
                                                                                                      Gregory K. Jones
                                              27                                                      Attorneys for Defendant
                                                                                                      SHELBY HO aka TSAI LUAN HO aka
                                              28                                                      SHELBY TSAI HO, an individual
                                                                                                    2
                                                          MOTION TO WITHDRAW AS COUNSEL TO TSAI LUAN HO; MEMORANDUM OF POINTS AND AUTHORITIES;
                                                                          DECLARATION OF MICHAEL P. WIPPLER IN SUPPORT THEREOF
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                                               1                        MEMORANDUM OF POINTS AND AUTHORITIES

                                               2 I.       FACTUAL BACKGROUND

                                               3          A.      Procedural History

                                               4          On November 19, 2015, Crystal Waterfalls LLC (the “Debtor” or “Crystal”) commenced a

                                               5 chapter 11 case by filing a voluntary petition for relief. Less than a month later, the Debtor filed a

                                               6 complaint against HCL 2011, LLC (“HCL”) for (i) Cancellation of Written Instrument, (ii) Quiet

                                               7 Title, and (iii) Declaratory Relief. Adversary Docket No. 1. In January 2016, the Debtor filed an

                                               8 amended complaint against HCL. See Adversary Docket No. 13.

                                               9          Approximately six months later, HCL answered the amended complaint and filed

                                              10 counterclaims against Ho, Benjamin Kirk, Lucy Gao, and the Debtor. See Adversary Docket No.

                                              11 56. On July 28, 2016, the Debtor filed an answer to HCL’s counterclaim and asserted a crossclaim
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                     333 SOUTH GRAND AVENUE

                      LOS ANGELES, CA 90071




                                              12 against Kirk and Ho. See Adversary Docket Nos. 73, 74.
                            SUITE 2100




                                              13          HCL and the Debtor subsequently filed amended claims against Ho. On July 5, 2017, the

                                              14 Court entered its “Order Granting Tsai Luan Ho aka Shelby Ho’s Motion to Dismiss Crystal

                                              15 Waterfalls LLC’s Second Amended Crossclaim,” see Adv. Pro. Docket No. 219, which dismissed

                                              16 two causes of action in the Debtor’s crossclaim. On August 15, 2017, this Court entered a

                                              17 Memorandum of Decision declining to exercise jurisdiction over the first through tenth claims for

                                              18 relief asserted in HCL’s counterclaim.
                                              19          Additionally, on August 15, 2017, the Court (i) set a discovery cutoff date of April 30, 2018,

                                              20 (ii) a pretrial conference for May 15, 2018, and (iii) a trial for the week of May 29, 2018.

                                              21          B.      Employment of Dykema

                                              22          On October 5, 2017, Client executed a retainer agreement (the “Agreement”) with Dykema.

                                              23 Pursuant to the Agreement, Client agreed to pay Dykema upon receipt of Dykema's invoices.

                                              24          The Agreement addresses the issue of terminating Dykema’s representation of Client:

                                              25
                                                                  Each of us will have the option to end our relationship if and when we
                                              26                  so choose, provided that our firm’s fees and costs incurred prior to
                                                                  that time remain your responsibility.
                                              27
                                              28
                                                                                                     3
                                                          MOTION TO WITHDRAW AS COUNSEL TO TSAI LUAN HO; MEMORANDUM OF POINTS AND AUTHORITIES;
                                                                          DECLARATION OF MICHAEL P. WIPPLER IN SUPPORT THEREOF
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                                               1          An attachment to the Agreement (the “Terms of Representation”) set forth the standard

                                               2 terms and conditions of engagement. The Terms of Representation state the following:

                                               3
                                                                  How We Charge for our Services and Expenses. Unless some
                                               4                  other arrangement has been agreed upon with you, our practice is to
                                                                  submit monthly invoices for services and expenses. This ensures that
                                               5                  you have a current understanding of charges and expenses incurred.
                                                                  The work we have performed on your behalf will be described in the
                                               6                  monthly invoice. Payment is due upon receipt.
                                               7
                                                   Terms of Representation (emphasis in original).
                                               8
                                                          C.      The Client’s Breach of the Agreement with Dykema
                                               9
                                                          As stated in the Agreement and Terms of Representation, Client is obligated to pay Dykema
                                              10
                                                   upon the receipt of monthly invoices. The last payment made by Client to Dykema was on May 22,
                                              11
DYKEMA GOSSETT LLP




                                                   2017. The present amount owing to Dykema is $363,068.93 (which consists of $332,435.40 in
                     333 SOUTH GRAND AVENUE

                      LOS ANGELES, CA 90071




                                              12
                                                   amounts billed to the Client and approximately $30,633.53 of WIP).
                            SUITE 2100




                                              13
                                                          Dykema emailed Client on numerous dates, including, but not limited to, August 13, 2017,
                                              14
                                                   August 29, 2017, September 6, 2017, September 7, 2017, and September 11, 2017, to discuss, inter
                                              15
                                                   alia, Client’s nonpayment of Dykema’s invoices and other related expenses. These emails also
                                              16
                                                   discussed case strategies and deadlines in the above-captioned adversary proceeding and other
                                              17
                                                   bankruptcy and state court litigation. See Wippler Declaration, ¶ 4.
                                              18
                                                          The Client has not paid any portion of the amounts owed to Dykema. Further fees and costs
                                              19
                                                   have been incurred by Dykema in representing the Client during September 2017. See Wippler
                                              20
                                                   Declaration, ¶ 5.
                                              21
                                                          D.      Breakdown in Communications
                                              22
                                                          The Client has not cooperated with Dykema and has virtually refused to respond to
                                              23
                                                   Dykema’s correspondence and phone messages for at least the past thirty (30) days. Client’s refusal
                                              24
                                                   to respond to deadlines in all of her litigation matters has made representation of her impossible,
                                              25
                                                   and substantive communication from the Client has virtually ended. Dykema continues to inform
                                              26
                                                   Client of dates, deadlines, and responsibilities and will do so until withdrawal is granted.
                                              27
                                              28
                                                                                                      4
                                                           MOTION TO WITHDRAW AS COUNSEL TO TSAI LUAN HO; MEMORANDUM OF POINTS AND AUTHORITIES;
                                                                           DECLARATION OF MICHAEL P. WIPPLER IN SUPPORT THEREOF
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                                               1 II.      ARGUMENT

                                               2          Local Rule 2091-1 of the Local Bankruptcy Rules for the Central District of California (the

                                               3 “Local Rules”) provides that counsel may withdraw from an action upon proper notice. The

                                               4 California Rules of Professional Conduct (the “CRPC”) provide authority for the withdrawal of

                                               5 counsel. CRPC Rule 3-700 provides, in relevant part, as follows:

                                               6
                                                                  (C) Permissive Withdrawal.
                                               7
                                                                  If rule 3-700(B) is not applicable, a member may not request
                                               8                  permission to withdraw in matters pending before a tribunal, and may
                                                                  not withdraw in other matters, unless such request is because:
                                               9
                                                                  (1)     The client
                                              10
                                                                           (a)  insists upon presenting a claim or defense that is not
                                              11                  warranted under existing law and cannot be supported by good faith
DYKEMA GOSSETT LLP




                                                                  argument for an extension, modification, or reversal of existing law,
                     333 SOUTH GRAND AVENUE

                      LOS ANGELES, CA 90071




                                              12                  or . . .
                            SUITE 2100




                                              13                        (d)     by other conduct renders it unreasonably difficult for
                                                                  the member to carry out the employment effective, or
                                              14
                                                                         (f)     breaches an agreement or obligation to the member as
                                              15                  to expenses or fees
                                              16                  ...
                                              17                  (6)    The member believes in good faith, in a proceeding pending
                                                                  before a tribunal, that the tribunal will find the existence of other good
                                              18                  cause for withdrawal.
                                              19
                                                          The breakdown in the attorney-client relationship has long been recognized as a ground for
                                              20
                                                   authorizing the attorney to withdraw. See, e.g., Aceves v. Superior Court, 51 Cal.App.4th 584
                                              21
                                                   (1996). Dykema is prepared to appear in camera should the Court require further details
                                              22
                                                   surrounding the complete breakdown of the attorney-client relationship. See Manfredi v. Superior
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                                                   Court of California, 66 Cal.App.4th 1128, 1136 (1998) (in camera proceedings appropriate to
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                                                   “furnish details” and “provide the court with sufficient information” to resolve representational
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                                                   issues arising out of confidential communications); Crocker National Bank v. M.F. Securities, 104
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                                                   F.R.D. 123, 125 (C.D. Cal. 1985) (court granted motion to withdraw when law firm contended that
                                              27
                                                   “its relationship with the [client] has so deteriorated that it was not longer possible for the firm to
                                              28
                                                                                                       5
                                                           MOTION TO WITHDRAW AS COUNSEL TO TSAI LUAN HO; MEMORANDUM OF POINTS AND AUTHORITIES;
                                                                           DECLARATION OF MICHAEL P. WIPPLER IN SUPPORT THEREOF
                                              Case 2:15-bk-27769-ER Doc 421 Filed 10/03/17 Entered 10/03/17 08:52:47 Desc
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                                               1 represent [it]”); Estate of Falco, 188 Cal.App.3d 1004, 1020 (1987) (court granted counsel’s motion

                                               2 to withdraw on the basis that the attorney-client relationship had completely broke down).

                                               3          Due to the breakdown in its relationship with Client and for reasons covered by the attorney-

                                               4 client privilege, Dykema can no longer effectively represent Client. Manfredi, 66 Cal.App.4th

                                               5 1128. Dykema is prepared to state that exigency in camera should the need arise.

                                               6          A client’s failure to pay agreed upon attorneys’ fees and costs also provides proper support

                                               7 for a motion to withdraw. Chevron, TCI, Inc. v. Carbone Props. Manager, LLC, 2009 U.S. Dist.

                                               8 LEXIS 33710 (C.D. Cal. 2009); Jackie v. Sturkie, 255 F.Supp.2d 1096, 1098 (N.D. Cal. 2003); FTC

                                               9 v. Pacific Medical Clinics, 1992 U.S. Dist. LEXIS 6247 (S.D. Cal. 1992). In addition to the already
                                              10 outstanding fees, the Court must also consider the financial burden the firm will be forced to bear

                                              11 going forward if the Court denies its motion. Kelley Metal Trading Co. v. Al-Jon/United, Inc., 1994
DYKEMA GOSSETT LLP
                     333 SOUTH GRAND AVENUE

                      LOS ANGELES, CA 90071




                                              12 U.S. Dist. LEXIS 7653 (D. Kan. 1994) (continuing hearing on motion to withdraw but stating that
                            SUITE 2100




                                              13 withdrawal was appropriate where the amount owed was substantial and counsel would be forced to

                                              14 incur additional expenses if required to try the case and there was little indication that the client

                                              15 would be able to pay).

                                              16          WHEREFORE, Dykema respectfully requests that this Court enter an order (i) granting the

                                              17 Motion and (ii) providing such other and further relief that the Court deems necessary and

                                              18 appropriate.
                                              19

                                              20
                                                   Dated: September 13, 2017                       DYKEMA GOSSETT LLP
                                              21

                                              22
                                                                                                   By: /s/ Gregory K. Jones_____________
                                              23                                                       Gregory K. Jones
                                                                                                       Attorneys for Defendant
                                              24                                                       SHELBY HO aka TSAI LUAN HO aka
                                                                                                       SHELBY TSAI HO, an individual
                                              25

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                                                                                                      6
                                                           MOTION TO WITHDRAW AS COUNSEL TO TSAI LUAN HO; MEMORANDUM OF POINTS AND AUTHORITIES;
                                                                           DECLARATION OF MICHAEL P. WIPPLER IN SUPPORT THEREOF
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                                               1                           DECLARATION OF MICHAEL P. WIPPLER

                                               2          1.     I am an attorney at law licensed to practice my profession in the state of California

                                               3 and a Member at Dykema Gossett LLP (“Dykema”), counsel of record for Tsai Luan Ho (“Ho”). I

                                               4 make this declaration in support of Dykema’s “Motion to Withdraw as Counsel to Tsai Luan Ho”

                                               5 (the “Motion”) in the above-captioned bankruptcy case of Crystal Waterfalls, LLC (“Crystal”) and

                                               6 the above-captioned adversary proceeding entitled Crystal Waterfalls LLC v. HCL 2011, LLC; HCL

                                               7 2011, LLC v. Crystal Waterfalls LLC, Lucy Gao, Benjamin Kirk, Shelby Ho; and Crystal Waterfalls

                                               8 LLC v. Benjamin Kirk, Shelby Ho (the “Adversary Proceeding”). If called as a witness, I could and

                                               9 would testify to the following facts, which are of my own personal knowledge or based on
                                              10 information and belief.

                                              11          2.     The last payment made by Ms. Ho to Dykema was on May 22, 2017, in the amount
DYKEMA GOSSETT LLP
                     333 SOUTH GRAND AVENUE

                      LOS ANGELES, CA 90071




                                              12 of $50,000.
                            SUITE 2100




                                              13          3.     The present amount owing from Ms. Ho to Dykema is $363,068.93 (which consists

                                              14 of $332,435.40 in amounts billed to Ms. Ho and approximately $30,633.53 of WIP).

                                              15          4.     I have emailed Ms. Ho on numerous dates, including, but not limited to, August 13,

                                              16 2017, August 29, 2017, September 6, 2017, September 7, 2017, and September 11, 2017, to discuss,

                                              17 inter alia, Ho’s nonpayment of Dykema’s invoices and other related expenses. These emails also

                                              18 discussed case strategies and deadlines in the Adversary Proceeding and other bankruptcy and state
                                              19 court litigation.

                                              20          5.     Further fees and costs have been incurred by Dykema in representing Ms. Ho during

                                              21 September 2017.

                                              22          6.     Ms. Ho has been unresponsive to my correspondence and phone messages for the

                                              23 past thirty (30) days. Ms. Ho’s refusal to respond to my communications or deadlines in all of her

                                              24 litigation matters has made representation of her impossible, and substantive communication from

                                              25 Ms. Ho has ended. I and others at Dykema will continue to inform Ms. Ho of dates, deadlines, and

                                              26 responsibilities and will do so until withdrawal is granted.

                                              27 ///
                                              28 ///
                                                                                                    7
                                                          MOTION TO WITHDRAW AS COUNSEL TO TSAI LUAN HO; MEMORANDUM OF POINTS AND AUTHORITIES;
                                                                          DECLARATION OF MICHAEL P. WIPPLER IN SUPPORT THEREOF
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                                                           3 cfftguu!ku<!!!444!U/!Itcpf!Cxgpwg-!Uwkvg!3211-!Nqu!Cpigngu-!EC!!;1182!

                                                           4 C!vtwg!cpf!eqttgev!eqr{!qh!vjg!hqtgiqkpi!fqewogpv!gpvkvngf!)specify*<!!PQVKEG!QH!QRRQTVWPKV[!VQ!
                                                               TGSWGUV!C!JGCTKPI!QP!OQVKQP=!OQVKQP!VQ!YKVJFTCY!CU!EQWPUGN!VQ!VUCK!NWCP!JQ=!
                                                           5 OGOQTCPFWO!QH!RQKPVU!CPF!CWVJQTKVKGU=!FGENCTCVKQP!QH!OKEJCGN!R/!YKRRNGT!KUQ!yknn!dg!
                                                               ugtxgf!qt!ycu!ugtxgf!)c*!qp!vjg!lwfig!kp!ejcodgtu!kp!vjg!hqto!cpf!ocppgt!tgswktgf!d{!NDT!6116.3)f*=!cpf!
                                                           6 )d*!kp!vjg!ocppgt!uvcvgf!dgnqy<!

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                                                               eqpvtqnnkpi!Igpgtcn!Qtfgtu!cpf!NDT-!vjg!hqtgiqkpi!fqewogpv!yknn!dg!ugtxgf!d{!vjg!eqwtv!xkc!PGH!cpf!
                                                           8 j{rgtnkpm!vq!vjg!fqewogpv/!Qp!)date*!Ugrvgodgt!25-!3128-!K!ejgemgf!vjg!EO0GEH!fqemgv!hqt!vjku!dcpmtwrve{!
                                                               ecug!qt!cfxgtuct{!rtqeggfkpi!cpf!fgvgtokpgf!vjcv!vjg!hqnnqykpi!rgtuqpu!ctg!qp!vjg!Gngevtqpke!Ockn!Pqvkeg!
                                                           9 Nkuv!vq!tgegkxg!PGH!vtcpuokuukqp!cv!vjg!gockn!cfftguugu!uvcvgf!dgnqy<!
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                     333 SOUTH GRAND AVENUE, SUITE 2100




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                       LOS ANGELES, CALIFORNIA 90071




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                                                          12   gpxgnqrg!kp!vjg!Wpkvgf!Uvcvgu!ockn-!hktuv!encuu-!rquvcig!rtgrckf-!cpf!cfftguugf!cu!hqnnqyu/!Nkuvkpi!vjg!lwfig!
                                                               jgtg!eqpuvkvwvgu!c!fgenctcvkqp!vjcv!ocknkpi!vq!vjg!lwfig!yknn!dg!eqorngvgf!pq!ncvgt!vjcp!35!jqwtu!chvgt!vjg!
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                                                          14 Benjamin Kirk                                              Robert A Lisnow on behalf of Defendant
                                                             2648 E Workman Ave #3001-263                               Lucy Gao
                                                          15 West Covina, CA 91791                                      10866 Wilshire Blvd Ste 400
                                                                                                                        Los Angeles, CA 90024
                                                          16 Robert A Lisnow on behalf of Defendant
                                                             Golden Bay Investments, LLC
                                                          17 10866 Wilshire Blvd Ste 400
                                                             Los Angeles, CA 90024
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                                                               )uvcvg!ogvjqf!hqt!gcej!rgtuqp!qt!gpvkv{!ugtxgf*<!!Rwtuwcpv!vq!H/T/Ekx/R/!6!cpf0qt!eqpvtqnnkpi!NDT-!qp!)date*!!
                                                          20 Ugrvgodgt!25-!3128-!K!ugtxgf!vjg!hqnnqykpi!rgtuqpu!cpf0qt!gpvkvkgu!d{!rgtuqpcn!fgnkxgt{-!qxgtpkijv!ockn!
                                                               ugtxkeg-!qt!)hqt!vjqug!yjq!eqpugpvgf!kp!ytkvkpi!vq!uwej!ugtxkeg!ogvjqf*-!d{!hceukokng!vtcpuokuukqp!cpf0qt!
                                                          21 gockn!cu!hqnnqyu/!!Nkuvkpi!vjg!lwfig!jgtg!eqpuvkvwvgu!c!fgenctcvkqp!vjcv!rgtuqpcn!fgnkxgt{!qp-!qt!qxgtpkijv!ockn!
                                                               vq-!vjg!lwfig!yknn!dg!eqorngvgf!pq!ncvgt!vjcp!35!jqwtu!chvgt!vjg!fqewogpv!ku!hkngf/!
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                                                               Jqpqtcdng!Gtpguv!O/!Tqdngu!                                 Tsai Luan Ho a/k/a/ Shelby Ho
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                                                               Egpvtcn!Fkuvtkev!qh!Ecnkhqtpkc!                             Atherton, CA 94027
                                                          24 Gfyctf!T/!Tq{dcn!Hgfgtcn!Dwknfkpi!cpf!Eqwtvjqwug!
                                                               366!G/!Vgorng!Uvtggv-!Uwkvg!2671!0!Eqwtvtqqo!2679!
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                                                           1                                           SERVICE LIST
                                                                Kyra E Andrassy on behalf of Counter-Claimant Huesing Holdings LLC
                                                           2    kandrassy@swelawfirm.com,
                                                                csheets@swelawfirm.com;gcruz@swelawfirm.com;hdavis@swelawfirm.com
                                                           3
                                                                Kyra E Andrassy on behalf of Creditor Huesing Holdings, LLC
                                                           4    kandrassy@swelawfirm.com,
                                                                csheets@swelawfirm.com;gcruz@swelawfirm.com;hdavis@swelawfirm.com
                                                           5
                                                                Kyra E Andrassy on behalf of Defendant Huesing Holdings LLC
                                                           6    kandrassy@swelawfirm.com,
                                                                csheets@swelawfirm.com;gcruz@swelawfirm.com;hdavis@swelawfirm.com
                                                           7
                                                                Kyra E Andrassy on behalf of Interested Party Courtesy NEF
                                                           8    kandrassy@swelawfirm.com,
                                                                csheets@swelawfirm.com;gcruz@swelawfirm.com;hdavis@swelawfirm.com
                                                           9
                                                                Raymond H. Aver on behalf of Creditor B3 Capital Venture, LLC
                                                          10    ray@averlaw.com
                     333 SOUTH GRAND AVENUE, SUITE 2100




                                                          11    Raymond H. Aver on behalf of Interested Party Courtesy NEF
                       LOS ANGELES, CALIFORNIA 90071
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                                                                ray@averlaw.com
                                                          12
                                                                Lei Lei Wang Ekvall on behalf of Counter-Claimant Huesing Holdings LLC
                                                          13    lekvall@swelawfirm.com,
                                                                csheets@swelawfirm.com;gcruz@swelawfirm.com;hdavis@swelawfirm.com
                                                          14
                                                                Lei Lei Wang Ekvall on behalf of Defendant Huesing Holdings LLC
                                                          15    lekvall@swelawfirm.com,
                                                                csheets@swelawfirm.com;gcruz@swelawfirm.com;hdavis@swelawfirm.com
                                                          16
                                                                Lei Lei Wang Ekvall on behalf of Interested Party Courtesy NEF
                                                          17    lekvall@swelawfirm.com,
                                                                csheets@swelawfirm.com;gcruz@swelawfirm.com;hdavis@swelawfirm.com
                                                          18
                                                                John-Patrick M Fritz on behalf of Plaintiff Liberty Asset Management Corporation
                                                          19    jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com

                                                          20    Ronald S Gellert on behalf of Interested Party Courtesy NEF
                                                                rgellert@gsbblaw.com
                                                          21
                                                                Barry S Glaser on behalf of Creditor Los Angeles County Treasurer & Tax Collector
                                                          22    bglaser@swesq.com, erhee@swesq.com

                                                          23    Barry S Glaser on behalf of Interested Party Courtesy NEF
                                                                bglaser@swesq.com, erhee@swesq.com
                                                          24
                                                                David B Golubchik on behalf of Interested Party Courtesy NEF
                                                          25    dbg@lnbyb.com, dbg@ecf.inforuptcy.com

                                                          26    David B Golubchik on behalf of Plaintiff Liberty Asset Management Corporation
                                                                dbg@lnbyb.com, dbg@ecf.inforuptcy.com
                                                          27
                                                                Gail S Greenwood on behalf of Creditor LIBERTY ASSET MANAGEMENT CORPORATION
                                                          28    ggreenwood@pszjlaw.com, rrosales@pszjlaw.com
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                                                           1    Gail S Greenwood on behalf of Interested Party Official Committee of Unsecured Creditors of
                                                                Liberty Asset Management Corporation
                                                           2    ggreenwood@pszjlaw.com, rrosales@pszjlaw.com

                                                           3    Gregory K Jones on behalf of Counter-Defendant Shelby Ho
                                                                GJones@dykema.com, CAcossano@dykema.com;DocketLA@dykema.com
                                                           4
                                                                Gregory K Jones on behalf of Interested Party Courtesy NEF
                                                           5    GJones@dykema.com, CAcossano@dykema.com;DocketLA@dykema.com

                                                           6    Jeffrey S Kwong on behalf of Interested Party Courtesy NEF
                                                                jsk@lnbyb.com, jsk@ecf.inforuptcy.com
                                                           7
                                                                Jeffrey S Kwong on behalf of Plaintiff Liberty Asset Management Corporation
                                                           8    jsk@lnbyb.com, jsk@ecf.inforuptcy.com

                                                           9    Ian Landsberg on behalf of Attorney Landsberg Law APC
                                                                ian@landsberg-law.com, casey@landsberg-law.com;lisa@landsberg-law.com;diana@landsberg-
                                                          10    law.com;yesi@landsberg-law.com;ilandsberg@ecf.inforuptcy.com
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                                                          11    Ian Landsberg on behalf of Counter-Defendant Crystal Waterfalls, LLC
                       LOS ANGELES, CALIFORNIA 90071
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                                                                ian@landsberg-law.com, casey@landsberg-law.com;lisa@landsberg-law.com;diana@landsberg-
                                                          12    law.com;yesi@landsberg-law.com;ilandsberg@ecf.inforuptcy.com

                                                          13    Ian Landsberg on behalf of Counter-Defendant Crystal Waterfalls, LLC a California limited
                                                                liability company
                                                          14    ian@landsberg-law.com, casey@landsberg-law.com;lisa@landsberg-law.com;diana@landsberg-
                                                                law.com;yesi@landsberg-law.com;ilandsberg@ecf.inforuptcy.com
                                                          15
                                                                Ian Landsberg on behalf of Cross-Claimant Crystal Waterfalls, LLC a California limited liability
                                                          16    company
                                                                ian@landsberg-law.com, casey@landsberg-law.com;lisa@landsberg-law.com;diana@landsberg-
                                                          17    law.com;yesi@landsberg-law.com;ilandsberg@ecf.inforuptcy.com

                                                          18    Ian Landsberg on behalf of Debtor Crystal Waterfalls LLC
                                                                ian@landsberg-law.com, casey@landsberg-law.com;lisa@landsberg-law.com;diana@landsberg-
                                                          19    law.com;yesi@landsberg-law.com;ilandsberg@ecf.inforuptcy.com

                                                          20    Ian Landsberg on behalf of Defendant Crystal Waterfalls, LLC
                                                                ian@landsberg-law.com, casey@landsberg-law.com;lisa@landsberg-law.com;diana@landsberg-
                                                          21    law.com;yesi@landsberg-law.com;ilandsberg@ecf.inforuptcy.com

                                                          22    Ian Landsberg on behalf of Plaintiff Crystal Waterfalls, LLC
                                                                ian@landsberg-law.com, casey@landsberg-law.com;lisa@landsberg-law.com;diana@landsberg-
                                                          23    law.com;yesi@landsberg-law.com;ilandsberg@ecf.inforuptcy.com

                                                          24    Ian Landsberg on behalf of Plaintiff Crystal Waterfalls, LLC a California limited liability
                                                                company
                                                          25    ian@landsberg-law.com, casey@landsberg-law.com;lisa@landsberg-law.com;diana@landsberg-
                                                                law.com;yesi@landsberg-law.com;ilandsberg@ecf.inforuptcy.com
                                                          26
                                                                David W. Meadows on behalf of Interested Party Courtesy NEF
                                                          27    david@davidwmeadowslaw.com

                                                          28    Charles Alex Naegele on behalf of Interested Party Courtesy NEF
                                                                alex@canlawcorp.com, alexnaegelelaw@gmail.com
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                                                           1    Jeremy V Richards on behalf of Interested Party Courtesy NEF
                                                                jrichards@pszjlaw.com, bdassa@pszjlaw.com;imorris@pszjlaw.com
                                                           2
                                                                Jeremy V Richards on behalf of Interested Party Official Committee of Unsecured Creditors of
                                                           3    Liberty Asset Management Corporation
                                                                jrichards@pszjlaw.com, bdassa@pszjlaw.com;imorris@pszjlaw.com
                                                           4
                                                                Jeremy V Richards on behalf of Plaintiff Official Unsecured Creditors Committee for Liberty
                                                           5    Asset Management Corporation
                                                                jrichards@pszjlaw.com, bdassa@pszjlaw.com;imorris@pszjlaw.com
                                                           6
                                                                Isra Shah on behalf of Creditor City of Covina
                                                           7    ishah@rwglaw.com, shahisra@gmail.com

                                                           8    Timothy F Umbreit on behalf of Interested Party Thompson Real Estate Group
                                                                tim@timumbreit.com
                                                           9
                                                                United States Trustee (LA)
                                                          10    ustpregion16.la.ecf@usdoj.gov
                     333 SOUTH GRAND AVENUE, SUITE 2100




                                                          11    Scott S Weltman on behalf of Creditor Eastern Funding, LLC
                       LOS ANGELES, CALIFORNIA 90071
DYKEMA GOSSETT LLP




                                                                colcaecf@weltman.com
                                                          12
                                                                James S Yan on behalf of Counter-Claimant HCL 2011, LLC a California limited liability
                                                          13    company
                                                                jsyan@msn.com
                                                          14
                                                                James S Yan on behalf of Creditor HCL 2011 LLC
                                                          15    jsyan@msn.com

                                                          16    James S Yan on behalf of Interested Party Courtesy NEF
                                                                jsyan@msn.com
                                                          17
                                                                Hatty K Yip on behalf of U.S. Trustee United States Trustee (LA)
                                                          18    hatty.yip@usdoj.gov

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                                                           2
                                                               I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
                                                           3 address is: 333 S. Grand Avenue, Suite 2100, Los Angeles, CA 90071

                                                           4 A true and correct copy of the foregoing document entitled (specify): DECLARATION THAT NO PARTY
                                                               REQUESTED A HEARING ON MOTION LBR 9013-1 (O)(3) will be served or was served (a) on the judge in
                                                           5 chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

                                                           6 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
                                                               controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
                                                           7 hyperlink to the document. On (date) October 3, 2017, I checked the CM/ECF docket for this bankruptcy
                                                               case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
                                                           8 List to receive NEF transmission at the email addresses stated below:

                                                           9
                                                                                                                  El       Service information continued on attached page
                                                               2. SERVED BY UNITED STATES MAIL:
                                                          10   On (date) October 3, 2017, I served the following persons and/or entities at the last known addresses in this
                     333 SOUTH GRAND AVENUE, SUITE 2100




                                                               bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in
                                                          11
                       LOS ANGELES, CALIFORNIA 90071




                                                               the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
DYKEMA GOSSETT LLP




                                                               constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
                                                          12   document is filed.
                                                          13 Benjamin Kirk                                              Robert A Lisnow on behalf of Defendant
                                                             2648 E Workman Ave #3001-263                               Lucy Gao
                                                          14 West Covina, CA 91791                                      10866 Wilshire Blvd Ste 400
                                                                                                                        Los Angeles, CA 90024
                                                          15 Robert A Lisnow on behalf of Defendant
                                                             Golden Bay Investments, LLC
                                                          16 10866 Wilshire Blvd Ste 400
                                                             Los Angeles, CA 90024
                                                          17
                                                                                                                 0       Service information continued on attached page
                                                          18 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
                                                               (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
                                                          19 October 3, 2017, I served the following persons and/or entities by personal delivery, overnight mail service,
                                                               or (for those who consented in writing to such service method), by facsimile transmission and/or email as
                                                          20 follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
                                                               judge will be completed no later than 24 hours after the document is filed.
                                                          21
                                                               Honorable Ernest M. Robles                                 Tsai Luan Ho a/k/a/ Shelby Ho
                                                          22 United States Bankruptcy Court                               126 Atherton Avenue
                                                               Central District of California                             Atherton, CA 94027
                                                          23 Edward R. Roybal Federal Building and Courthouse
                                                               255 E. Temple Street, Suite 1560 / Courtroom 1568
                                                          24 Los Angeles, CA 90012

                                                          25
                                                                                                                 0       Service information continued on attached page
                                                          26 I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

                                                          27    October 3, 2017             Caroline Acossano                         /s/ Caroline Acossano
                                                                Date                       Printed Name                               Signature
                                                          28
                                                          Case 2:15-bk-27769-ER      Doc 421 Filed 10/03/17 Entered 10/03/17 08:52:47              Desc
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                                                           1                                          SERVICE LIST
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                                                               csheets@swelawfirm.com;gcruz@swelawfirm.com;hdavis@swelawfirm.com
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                                                               Raymond H. Aver on behalf of Creditor B3 Capital Venture, LLC
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                                                          11   Raymond H. Aver on behalf of Interested Party Courtesy NEF
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                                                               Lei Lei Wang Ekvall on behalf of Counter-Claimant Huesing Holdings LLC
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                                                               David B Golubchik on behalf of Interested Party Courtesy NEF
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                                                          26   David B Golubchik on behalf of Plaintiff Liberty Asset Management Corporation
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